            Case 6:20-cv-00480-ADA Document 51 Filed 11/11/20 Page 1 of 4

                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

WSOU INVESTMENTS, LLC

vs.                                                 Case No.: 6:20-CV-480-ADA
DELL TECHNOLOGIES INC., ET AL.


                        MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now David Kuznick                                             , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent 'HOO7HFKQRORJLHV,QF'HOO,QFDQG(0&&RUSin this case,

andwould respectfully show the Court as follows:


       1.      Applicant is an attorney and a member of the law firm (or practices under the name of)
               Dell Technologies Inc.                                    with offices at:

               Mailing address: 176 South St.

               City, State, Zip Code: Hopkinton, MA 01748

               Telephone: 774-350-0314                      Facsimile:


       2.      Since    November 27, 2012                     , Applicant has been and presently is a

               member of and in good standing with the Bar of the State of Massachusetts                .

               Applicant's bar license number is 685885                                                 .


       3.      Applicant has been admitted to practice before the following courts:

               Court:                                       Admission date:
               1st Circuit Court of Appeals                 February 26, 2013

               Federal Circuit Court of Appeals             February 28, 2013

               District of Massachusetts                    January 22, 2013
     Case 6:20-cv-00480-ADA Document 51 Filed 11/11/20 Page 2 of 4

4.    Applicant is presently a member in good standing of the bars of the courts listed above,

      except as provided below (list any court named in the preceding paragraph before which

      Applicant is no longer admitted to practice):

       N/A




5.    I      have         have not previously applied to Appear Pro Hac Vice in this district

      court in Case[s]:

      Number:                              on the        day of                        ,         .

      Number:                              on the        day of                        ,         .

      Number:                              on the        day of                        ,         .

6.    Applicant has never been subject to grievance proceedings or involuntary removal

      proceedings while a member of the bar of any state or federal court, except as

      provided:
       N/A




7.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

      except as provided below (omit minor traffic offenses):

       See Attachment.




8.    Applicant has read and is familiar with the Local Rules of the Western District of Texas

      and will comply with the standards of practice set out therein.
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          9.     Applicant will file an Application for Admission to Practice before the United States

                 District Court for the Western District of Texas, if so requested; or Applicant has

                 co-counsel in this case who is admitted to practice before the United States District

                 Court for the Western District of Texas.

                 Co-counsel: Barry K. Shelton

                 Mailing address: 311 RR 620S, Suite 205

                 City, State, Zip Code: Austin, TX 78734

                 Telephone: (512) 263-2165


          Should the Court grant applicant's motion, Applicant shall tender the amount of $100.00 pro hac

vice fee in compliance with Local Court Rule AT-l(f)(2) [checks made payable to: Clerk, U.S. District

Court].

          Wherefore, Applicant prays that this Court enter an order permitting the admission of
David Kuznick                             to the Western District of Texas pro hac vice for this case only.


                                                       Respectfully submitted,

                                                        David Kuznick
                                                       [printed name of Applicant]


                                                       [signature of Applicant]


                                      CERTIFICATE OF SERVICE

          I hereby certify that I have served a true and correct copy of this motion upon each attorney of

record and the original upon the Clerk of Court on this the 11 day of November                    , 2020 .

                                                        David Kuznick
                                                       [printed name of Applicant]


                                                       [signature of Applicant]
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                                         UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF TEXAS
                                                 WACO DIVISION


WSOU INVESTMENTS, LLC

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DELL TECHNOLOGIES INC., ET AL.



                                                                   ORDER

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                                                                            UNITED STATES DISTRICT JUDGE
